23-10690-smr Doc#52 Filed 08/16/24 Entered 08/16/24 18:51:33 Main Document Pg 1 of
                                        12



                      IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE WESTERN DISTRICT OF TEXAS
                                  AUSTIN DIVISION

  IN RE:                                            §
                                                    §
  CONTINUITY CONTROLS, LLC,                         §          Case No. 23-10690 SMR
                                                    §
                         DEBTOR                     §          Chapter 7
                                                    §

  PFP INDUSTRIES, LLC’S POST HEARING BRIEF IN SUPPORT OF ITS MOTION TO
  COMPEL PRODUCTION OR, ALTERNATIVELY, FOR TURNOVER ORDER [Doc. 38]

         Movant, PfP Industries, LLC (“PfP Industries”), files this Post Hearing Brief in support of

  its Motion to Compel Production or, Alternatively, for Turnover Order (“Turnover Motion”).

                                   I.      Summary of Argument

         This is a property matter. PfP Industries is seeking the turnover of property of Debtor’s

  bankruptcy estate—the entire contents of Debtor’s file in possession of Patterson + Sheridan,

  LLP—that was lawfully purchased from the Chapter 7 Trustee with the approval of this Court.

  PfP Industries has presented uncontroverted evidence that it is the owner and holder of all rights,

  title, and interests in and to Debtor’s file. Further, neither Patterson + Sheridan nor the Innodry

  Parties have contested the validity of this Court’s Order approving the sale of the file. That could

  and should be the end of the analysis, 11 U.S.C. § 542(a) unquestionably requires turnover and

  any asserted privilege is irrelevant. McKinstry v. Gensler (In re Black Diamond Mining Co., LLC),

  507 B.R. 209, 214 (E.D. Ky. 2014). Accordingly, the Turnover Motion should be granted.

         This Court may also grant the Turnover Motion pursuant to 11 U.S.C. § 542(e). PfP

  Industries has presented evidence that the documents and records in the file relate to the Debtor’s

  property or financial affairs. Patterson + Sheridan is not and has not asserted any privilege as to

  the contents of the file. Moreover, the Innodry Parties have wholly failed to meet their burden of

  presenting evidence regarding each element of any applicable privilege.           Indeed, attorney
                                                   1
23-10690-smr Doc#52 Filed 08/16/24 Entered 08/16/24 18:51:33 Main Document Pg 2 of
                                        12



  argument and allegations alone are not evidence, and are not sufficient to support an allegation of

  privilege that would prevent turnover of the entire contents of Debtor’s file to PfP Industries. See

  Black Diamond, 507 B.R. 209; In re Crescent Resources, LLC, 457 B.R. 506 (Bankr. W.D. Tex.

  2011). Again, PfP Industries’ Turnover Motion should be granted. Regardless of whether this

  Court applies § 542(a) or § 542(e), the result is the same, Patterson + Sheridan should be ordered

  to turn over the entire contents of Debtor’s file.

                                     II.     The Undisputed Facts

             The following undisputed facts support PfP Industries Turnover Motion:

         •    The Debtor filed a voluntary bankruptcy petition in this Court on August 29, 2024.

         •    Upon Debtor’s filing of that bankruptcy petition the entire contents of Patterson +
              Sheridan’s file for the Debtor, became property of the bankruptcy estate.

         •    Patterson + Sheridan failed to comply with 11 U.S.C. § 542(a); Patterson + Sheridan
              failed to turn over any of Debtor’s file to the Trustee, Randolph N. Osherow.

         •    On January 5, 2024, the Texas state court judge granted Patterson + Sheridan’s motion
              to withdraw from representation of the Debtor.

         •    Pursuant to Texas law Patterson + Sheridan was then required to provide a copy of the
              entire contents of its file to its former client—the Debtor’s representative, the Trustee,
              Randolph N. Osherow.

         •    The Innodry Parties took no action to allege any type of privilege, protect from
              disclosure, or assert any type of interest in any of Debtor’s property.

         •    On December 28, 2023, the Chapter 7 Trustee filed a motion to sell Debtor’s property
              (“Trustee Sale Motion”) (Doc. No. 12), including:

                All Chapter 5 causes of action, known or unknown, including but not limited to,
                any preferences and/or fraudulent transfer against Alexander Yousefian, Justin
                McCoy, Patterson+ Sheridan, LLP, Fred E. Walker, PC, and any prior officers
                and directors of Debtor.

                Assignment/ownership of and/or transfer/access to all records of Debtor whether
                they exist in an electronic or physical form held and/or maintained by any third
                party, including, but not limited to, Alexander Yousefian, Justin McCoy and
                Patterson + Sheridan, LLP.


                                                       2
23-10690-smr Doc#52 Filed 08/16/24 Entered 08/16/24 18:51:33 Main Document Pg 3 of
                                        12



         •   No person or entity challenged the Trustee’s Sale Motion;

         •   On February 25, 2024, this Court entered an Order granting the Trustee’s Sale Motion
             (Doc. No. 22) (“the Order”);

         •    No person or entity sought a stay or an appeal of the Order;

         •   On February 28, 2024, the Trustee sold the property described in the Trustee’s Sale
             Motion, including all records of the Debtor, to PfP Industries (Doc. 24);

         •   No person or entity challenged the Trustee’s sale of the Debtor’s property to PfP;

         •   On April 9, 2024, PfP Industries requested Patterson + Sheridan to turn over the entire
             contents of its file related to its representation of the Debtor. (Doc. 38, Ex. 1);

         •   On July 3, 2024, PfP Industries filed a Motion to Compel, or Alternatively for
             Turnover, seeking an order requiring Patterson + Sheridan to turn over the entire
             contents of its file related to representation of Debtor. (Doc.38).

                  III.    Patterson + Sheridan has Duty to Turn Over Property

         Collecting property of the estate is a Chapter 7 trustee's first duty. 11 U.S.C. § 704(a)(1).

  A debtor must cooperate with the trustee in that pursuit. 11 U.S.C.S. § 521(a)(3) and (a)(4); FED.

  R. BANKR. P. 4002. Section 542(a) places an affirmative duty upon the person in possession of

  bankruptcy estate property to turn over the property to the trustee, it is essentially self-executing;

  no action by the debtor or the trustee is necessary to compel compliance. See, e.g., Nissan Motor

  Acceptance Corp. v. Baker, 239 B.R. 484, 488 (N.D. Tex. 1999); In re Zaber, 223 B.R. 102, 104

  (Bankr. N.D. Tex. 1998). Further, anyone who has recorded information about estate property or

  debtor's financial affairs can be ordered to turn it over. 11 U.S.C. § 542(e). The trustee may seek

  the bankruptcy court's help in enforcing the performance of these duties of cooperation and

  production. These duties and Bankruptcy Code provisions are critical to the administration of a

  bankruptcy estate. See Rupp v. Auld (In re Auld), 561 B.R. 512, 515 (10th Cir. 2017).

         PfP is the successor-in-interest to the Trustee. Despite multiple demands, Patterson +

  Sheridan has not cooperated and produced the property of Debtor’s Estate to PFP Industries.


                                                    3
23-10690-smr Doc#52 Filed 08/16/24 Entered 08/16/24 18:51:33 Main Document Pg 4 of
                                        12



                            IV.        In re Black Diamond Mining Co., LLC

          In McKinstry v. Gensler (In re Black Diamond Mining Co., LLC), 507 B.R. 209, 214 (E.D.

  Ky. 2014), the Trustee filed a motion seeking the Debtor’s file in possession of counsel pursuant

  to § 542(e). The Debtor’s counsel opposed the motion. Interestingly, the court begins its

  discussion by noting that in most states, the client’s file is the client’s property. The Court states:

  “On that view, § 542 unquestionably would require turnover—and privilege would be irrelevant.”

  See 11 U.S.C. § 542(a) ("[A]n entity . . . in possession, custody, or control . . . of property that the

  trustee may use . . . shall deliver [such property] to the trustee."). Id. at 214. That should have

  been the end of the analysis; however, the Trustee sought turnover of the file pursuant to § 542(e)

  instead of § 542(a). The court then analyzed the motion and counsel’s claimed privileges in a

  similar manner to Crescent Resources. Id. at 215-16. Ultimately, the Court found none of the

  claimed privileges applicable and ordered counsel to turn over all documents and records in any

  medium relating to its representation of the Debtor. Id. at 219.

          In Texas, the client’s file is the client’s property. In re McCann, 422 S.W.3d 701 (Tex.

  Crim. App. 2013)(Today we reaffirm that a client owns the contents of his or her file). The

  evidence shows that no one has contested that PfP now holds all rights, title, and interests in and

  to Debtor’s file. Doc. 22, 24. Pursuant to § 542(a), Patterson + Sheridan should be ordered to turn

  over the Debtor’s file to PfP Industries—any alleged privilege is irrelevant. Black Diamond, 507

  B.R. at 214.

                                  V.      In re Crescent Resources, LLC

          Should this Court choose to treat PfP Industries’ Turnover Motion as a request for turnover

  pursuant to 11 U.S.C. § 542(e), rather than 11 U.S.C. § 542(a), then the analysis and holdings of

  In re Crescent Resources, LLC, 457 B.R. 506 (Bankr. W.D. Tex. 2011) are applicable.



                                                     4
23-10690-smr Doc#52 Filed 08/16/24 Entered 08/16/24 18:51:33 Main Document Pg 5 of
                                        12



         Because Crescent Resources involves Chapter 11 not Chapter 7, the roles of the parties and

  some of the analysis must be analogized. PfP Industries has an almost identical role to that of the

  Litigation Trust. The Litigation Trust was assigned the right to pursue causes of action which the

  Debtor could have asserted, including both avoidance and other causes of action, id. at 511, and

  PfP Industries was assigned the right to pursue causes of action which the Trustee could have

  asserted, including avoidance and other causes of action. Doc. 22. Additionally, both the Litigation

  Trust and PfP Industries were assigned all rights and interests in documents and communications

  associated with their claims. Crescent Resources, 457 B.R. at 511, Doc. 22. Furthermore, the

  Litigation Trust was the successor in interest to the Debtor, and PfP Industries is the successor in

  interest to the Trustee. Crescent Resources, 457 B.R. at 512, Doc. 24. Finally, both the Litigation

  Trust and PfP Industries filed motions to compel the turnover of Debtor’s documents and records

  in possession of counsel. Crescent Resources, 457 B.R. at 509, Doc. 38.

         It is at this point some of the roles of the parties diverge from those in Crescent Resources.

  There, both counsel (RBH) and a former parent of the debtor (Duke) contested the turnover motion.

  Here, Debtor’s former counsel (Patterson + Sheridan, LLP) is not contesting the Turnover Motion,

  rather a group of state court co-defendants of Debtor (the Innodry Parties) are contesting the

  Turnover Motion. Like Duke, the Innodry Parties assert that certain documents and records are

  privileged and should not be turned over. Crescent Resources, 457 B.R. at 509, Doc. 44.

         Of significance here, this Court will note that prior to discussing the contentions of the

  parties or the evidentiary requirements, the court discusses the documents in issue and noted that

  its Order contains a spreadsheet detailing the contents of the 345 files at issue (the “RBH

  Spreadsheet”), demonstrating that the legal counsel resisting the turnover motion has an obligation

  to prepare a document that details information related to the contested documents. See Crescent



                                                   5
23-10690-smr Doc#52 Filed 08/16/24 Entered 08/16/24 18:51:33 Main Document Pg 6 of
                                        12



  Resources, 457 B.R. at 512-13. Surprisingly, the Innodry Parties have refused to provide a

  spreadsheet, privilege log, or any kind of writing related to the quantity or type of documents and

  records they assert should not be turned over. In fact, they have asserted without citation that it is

  not required or needed. Doc. 44.

         In Crescent Resources the court provides a discussion and analysis of the evidentiary

  requirements/standards of proof for turnover pursuant to both § 542(a) or § 542(e). Unfortunately

  missing from the Opinion is any discussion on if a movant satisfies the requirements of § 542(a),

  then whether and why an analysis of the facts under § 542(e) is necessary. Regardless, the result

  is the same under § 542(a) or § 542(e).

         Under § 542(e), the movant must carry the initial burden to establish that the documents

  and records in issue relate to the debtor’s property or financial affairs. Crescent Resources, 457

  B.R. at 513. Once this initial burden is satisfied, then the burden shifts to the party asserting the

  privilege, and that party must establish all of the elements required to show the existence of a

  privilege. Id. In the case at bar, there can be no doubt that the documents and records in issue

  relate to the debtor’s property. The Trustee, with this Court’s approval, sold Debtor’s property—

  the documents and records at issue—to PfP Industries. Doc. 24. Consequently, it is the Innodry

  Parties’ burden to establish all of the elements necessary to show the existence of a valid privilege.

  Crescent Resources, 457 B.R. at 513. Here, the Innodry Parties simply filed an unverified

  response, alleging an unknown quantity of documents were, in their sole opinion, privilege for

  multiple reasons. Doc. 44. The Innodry Parties’ Response falls woefully short of what is required,

  and wholly fails to meet the requirements of any asserted privilege. See id.

         After setting out the test for establishing an attorney-client privilege, the Crescent

  Resources court discussed what establishes an attorney-client relationship and the existence and



                                                    6
23-10690-smr Doc#52 Filed 08/16/24 Entered 08/16/24 18:51:33 Main Document Pg 7 of
                                        12



  scope of any joint representations. Id. at 516-77. That is whether a “joint defense/joint client”

  privilege was applicable to the documents in issue. The court—quoting In re Teleglobe Commc’ns

  Corp., 493 F.3d 345, 363 (3rd Cir. 2007)—stated “the keys to deciding the scope of any joint

  representation are the parties’ intent and expectations.” Id. at 517 (emphasis added).

         The court then engaged in an extensive summary and analysis of the evidence and

  arguments presented by both the Litigation Trust and Duke, see id. at 517-21, and once again cited

  Teleglobe’s guidance twice more in its analysis. Id. 523-24. Duke’s five groups of evidence

  included an affidavit of in-house counsel, documents, deposition testimony, and sworn testimony

  of several witnesses. Id. at 518-21. The court concluded that Duke and Crescent Resources were

  joint clients. Id. at 524. Here, the Innodry Parties have done nothing more than file an unverified

  response to PfP Industries’ Turnover Motion. Doc. 44. Simply put, the Innodry Parties have not

  submitted any evidence of “the parties’ intent and expectations”—as opposed to the lawyers’

  intent and expectations—to support any purported attorney-client or common interest privilege.

  See Id. at 517 (emphasis added).

         Even if the Innodry Parties were to somehow come forward with evidence to attempt to

  meet their burden that each of the documents and records at issue are (1) subject to the attorney-

  client privilege and (2) fall within the scope of a joint defense agreement, the Court should still

  require Patterson + Sheridan to turn over the documents. As the Crescent Resources court found,

  as between the jointly represented parties, “Duke cannot invoke the attorney-client privilege to

  stop the Trust from using the joint-client files in adversary proceedings between Duke and the

  Trust.” Id. at 528. The Court then found that the Trust may not unilaterally waive the joint-client

  privileges and use privileged information in proceedings involving third-parties, absent waiver

  from Duke. Id. at 529. Ultimately, the Court ordered that all of the files and records at issue



                                                  7
23-10690-smr Doc#52 Filed 08/16/24 Entered 08/16/24 18:51:33 Main Document Pg 8 of
                                        12



  should be turned over to the Trustee of the Trust within five (5) business days. Id. at 530. The

  same analysis is applicable to this issue before this Court. The Innodry Parties cannot invoke the

  privilege to stop PfP Industries from using the joint-defense documents and records in adversary

  proceedings between PfP Industries and the Innodry Parties, including Justin McCoy, a former

  owner of the Debtor. Accordingly, this Court should order Patterson + Sheridan, LLP to turn over

  the entire contents of Debtor’s file within ten (10) days.

                                   VI.    In re Hardwood P-G, Inc.

         Osherow v. Vann (In re Hardwood P-G, Inc.), 403 B.R. 445 (Bankr. W.D. Tex. 2009) is

  procedurally and factually distinguishable from the case at bar. The case was a Chapter 11 case,

  not a Chapter 7 case, it does not involve a motion for turnover, and it does not involve rights to or

  ownership of property. Rather the case involves a discovery dispute wherein the Litigation Trustee

  filed a motion for an in camera inspection and a motion for protective order. Id. at 450.

         If the Court chooses to analyze PfP Industries’ Turnover Motion pursuant to § 542(e) then

  the following general concepts are applicable to the case at bar.

         •   Under Weintraub and Sovereign Software, the Trustee became the holder of the
             Debtors' attorney-client privilege.

         •   The right to assert or waive the attorney-client privilege of the debtor corporation rests
             with the trustee in a bankruptcy situation. Official Comm. of Unsecured Creditors of
             Hechinger Inv. Co. of Del. v. Fleet Retail Fin. Group, et. al. (In re Hechinger Inv. Co.
             of Del.), 285 B.R. 601, 611 (D. Del. 2002)(citing Weintraub, 471 U.S. at 349).

         •   The burden to establish the elements of the attorney-client privilege lies with the party
             asserting the privilege, i.e., the Innodry Parties. Ferko v. NASCAR, Inc., 218 F.R.D.
             125, 134 (E.D. Tex. 2003) (Schell, J.). Further, that party has the burden to prove that
             waiver did not occur. Id.

         •   While normally disclosure to third parties waives the privilege, an exception applies
             for disclosures to accountants or other professionals hired to assist the lawyer in
             providing legal advice to the client. Id. at 134-135 (citing United States v. Kovel, 296
             F.2d 918, 922 (2d Cir. 1961).



                                                    8
23-10690-smr Doc#52 Filed 08/16/24 Entered 08/16/24 18:51:33 Main Document Pg 9 of
                                        12



         •   Another exception to the waiver-by-disclosure rule is the common interest doctrine.
             U.S.A. v. BDO Seidman, LLP, 492 F.3d 806, 815 (7th Cir. 2007). The doctrine applies
             “where the parties undertake a joint effort with respect to a common legal interest, and
             the doctrine is limited strictly to those communications made to further an ongoing
             enterprise.” Id. at 815-816.

         •   Whether a document is protected from discovery by attorney work product is a fact
             intensive determination. Devaney v. Chester, 1986 U.S. Dist. LEXIS 26096, at *51-52
             (S.D.N.Y. Apr. 29, 1986) (citations omitted). Because there is no hard and fast rule, a
             court must undertake a case-by-case analysis of each of the documents sought to be
             protected. (emphasis added.).

  Otherwise, In re Hardwood is not applicable to this case.

                                  VII.    The Order – Relief Sought

         In Crescent Resources, Judge Gargotta ordered counsel (RBH) to turn over all files and

  records related to its representation of Crescent Resources, in whatever form held to the Litigation

  Trust within five (5) business days. Crescent Resources, 457 B.R. at 530. The Trust further

  ordered that the Trust’s use of certain documents was limited as set forth in the opinion. Id. Lastly,

  the court ordered that “RBH shall account, in writing, for each and every document in those files

  and records that has [been] removed, moved, or altered in any way, including, but not limited to

  the identification of the specific location from which any documents were removed.” Id.

         Similarly, PfP Industries has requested that Patterson + Sheridan, LLP be required to turn

  over the entire contents of Debtor’s file to PfP Industries’ counsel. Doc. 38. There has been no

  evidence of and no finding of an applicable privilege which would limit PfP Industries’ use of the

  documents. See Doc. 44, 26. Lastly, the evidence and pleadings reveal that Patterson + Sheridan

  was not diligent in gathering and turning the file over to the Trustee. See Doc. 42, 45. Moreover,

  rather than communicate any concern regarding a third party’s potential privilege to PfP Industries

  or the Trustee, Patterson + Sheridan assembled and provided the documents, without any authority,

  to a third party. See id. Consequently, this Court should require Patterson + Sheridan to certify



                                                    9
23-10690-smr Doc#52 Filed 08/16/24 Entered 08/16/24 18:51:33 Main Document Pg 10 of
                                        12



  that it has made a diligent search for the entire content of Debtor’s file and that it has turned over

  the entire contents of Debtor’s file. See Crescent Resources, 457 B.R. at 530.

                     VIII. Other Cases Requiring Turnover of Client’s Files

         In addition to Crescent Resources, the following cases hold that documents and records in

  counsel’s files must be turned over: Schwatzer v. Pisanelli Bice, PLLC (In re Fresh Mix LLC),

  2023 Bankr. LEXIS 2630 (Bankr. D. Nev. Oct. 20, 2023); In re Dawson, 587 B.R. 327 (Bankr.

  W.D. Mich. 2018); Rupp v. Auld (In re Auld), 561 B.R. 512 (B.A.P. 10th Cir. 2017); Wisper II,

  LLC v. Strawn (In re Wisper, LLC), 2014 Bankr. LEXIS 5361 (Bankr. W.D. Tenn. 2014); In re

  Fundamental Long Term Care Inc., 489 B.R. 451 (Bankr. M.D. Fla. 2013); In re Cardinal Fastener

  & Specialty Co., 2013 Bank. LEXIS 452 (Bankr. N.D. Ohio Feb. 4, 2013); In re Taproot Sys., 2012

  Bankr. LEXIS 2750 (E.D.N.C. June 15, 2012); In re Equaphor Inc., 2012 Bankr. LEXIS 2199

  (Bankr. E.D. Va May 11, 2012); In re Hotels Nev., LLC, 458 B.R. 560 (Bankr. D. Nev. 2011);

  Citron & Deutsch, A Law Corp. v. Ya Hsin Indus. Co. (In re Proton Digital Corp.), 2011 U.S. Dist.

  LEXIS 47785 (C.D. Cal. Apr. 27, 2011); In re Pearlman, 381 B.R. 903 (M.D. Fla 2007); Faulkner

  v. Kornman (In re Heritage Org., L.L.C.), 350 B.R. 733 (Bankr. N.D. Tex. 2006); Isola Communs.,

  LLC v. Def. Dynamics, LLC (In re Sola Communs., LLC), 2005 Bankr. LEXIS 3065 (Bankr. W.D.

  La. Dec. 21, 2005); In re Mirant Corp., 326 B.R. 646 (Bankr. N.D. Tex. 2005); In re Am.

  Metrocomm Corp., 274 B.R. 641 (Bankr. D. Del. 2002); In re Greater Southeast Cmty. Hosp.

  Found., Inc., 2001 Bankr. LEXIS 1780 (Bankr. D.C. June 11, 2001).

                                             XI.     Prayer

         For all of the foregoing reason, PfP Industries prays requests that this Court grant its

  Turnover Motion.




                                                   10
23-10690-smr Doc#52 Filed 08/16/24 Entered 08/16/24 18:51:33 Main Document Pg 11 of
                                        12



                                         Respectfully submitted,

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                                        11
23-10690-smr Doc#52 Filed 08/16/24 Entered 08/16/24 18:51:33 Main Document Pg 12 of
                                        12



                                  CERTIFICATE OF SERVICE

         The undersigned hereby certifies that on August 16, 2024, a true and correct copy of the

  foregoing was served in compliance with the Federal Rules of Bankruptcy Procedure and Local

  Rule 9013(d) on all required parties or their counsel of record, including the Debtor by first class

  U.S. mail to 13800 Lyndhurst St., Unit 91, Austin, TX 78717, the Chapter 7 Trustee by ECF

  service to rosherow@hotmail.com and rosherow@ecf.axosfs.com, the U.S. Trustee by ECF

  service to ustpregion07.au.ecf@usdoj.gov, Patterson + Sheridan, LLP by ECF service to

  rrowe@ccsb.com, lsparkes@ccsb.com, mplata@ccsb.com, and sfrisbee@ccsb.com, and to

  Innodry, LLC, inVi Oil & Gas, LLC, Justin McCoy, and John Clay Burch, III, by ECF service to

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                                                       /s/ Christopher A. Shield
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                                                  12
